Case 5:18-cv-00166-JPB Document 27 Filed 03/16/20 Page 1of4 PagelD #: 146

James E. Shelton

316 Covered Bridge Road

King of Prussia, PA 19406

(484) 312-3300
jamie@finalverdictsolutions.com

Assignee of Record

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 

DIANA MEY No. 5:18-cv-00166-JPB

Plaintiff
v.

JOSEPH M. CARNEY
Defendant

 

ACKNOWLEDGMENT OF ASSIGNMENT OF JUDGMENT

COMES NOW DIANA MBY, Plaintiff in this matter, and hereby provides the following
in support of an ASSIGNMENT OF JUDGMENT:
1) THAT the judgment was entered in this Court on January 16, 2020.
2) THAT Plaintiff was awarded the amount of $23,171.36 against Defendant JOSEPH
M. CARNEY, individually.
3) THAT there have been no renewals since the entry of said judgment by this court and
that Plaintiff has received $0.00 of judgment from judgment debtor.
4) DIANA MEY is the judgment creditor of record.
5) THAT the last address of record for JOSEPH M. CARNEY, judgment debtor, is 20
Appletree Lane, Hillsdale, NJ 07642.
6) THAT I, DIANA MEY, judgment creditor, hereby transfer, and assign all title, rights,

and interest in the judgment to the following person:

 
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JAMES E. SHELTON
316 Covered Bridge Road
King of Prussia, PA 19406

7) THAT I hereby irrevocably assign to and authorize Assignee, JAMES E. SHELTON,

to recover, compromise, settle and enforce said judgment at his discretion.

Signed this /Y day of March, 2020

Sworn and Subscribed to me this lle

(Notary Seal)

 

 

   
  

   
 

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DIANA MEY
Judgment Creditor
day of (Varah _,2020

 
   

Notary Signature

 
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Assignee of Record

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 

DIANA MEY No. 5:18-cv-00166-JPB
Plaintiff
Ve
JOSEPH M. CARNEY
Defendant

 

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COMES NOW DIANA MEY, Plaintiff in this matter, and hereby provides the following
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2) THAT Plaintiff was awarded the amount of $23,171.36 against Defendant JOSEPH
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3) THAT there have been no renewals since the entry of said judgment by this court and
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5) THAT the last address of record for JOSEPH M. CARNEY, judgment debtor, is 20
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and interest in the judgment to the following person:

 
Case 5:18-cv-00166-JPB Document 27 Filed 03/16/20 Page 4 of 4 PagelD #: 149

JAMES E. SHELTON
316 Covered Bridge Road
King of Prussia, PA 19406

7) THAT I hereby irrevocably assign to and authorize Assignee, JAMES E. SHELTON,

to recover, compromise, settle and enforce said judgment at his discretion.

Signed this _/ y day of March, 2020

 
   

DIANA MEY
Judgment Creditor
Sworn and Subscribed to me this /(@ day of _/ H) ALC f.__, 2020
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“(Notary Seal) : / Notary Signature

 

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SAMANTHAA, McGEE
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